Rev. 6/03

UNITED STATES DISTRICT COURT

Pro se [Non-prisoner] Complaint Form

Dalvada ood ,

(Your Name)

Plaintiff,

: -
Gull Acton Ne, |: SCV SB4
(to be assigned by the Clerk)

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Moses Cone IDOmun'S Hogoitah.
ne ey Betty Brown
SS: dS; Sos Defendant(s).

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Randlones Ce. Shoots
Cohivi Su rch Ce. Seheols COMPLAINT

I. JURISDICTION

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P leant Ge
I. PARTIES

A. Plaintiff
Name of Plaintiff; _Ze\onde Eyette poychs

Address: Yor ti IRSA igloo or
breemalaoro, Ne OIFe!

B. Defendant(s) (Notice: A person must be identified in subsections B and C in order to be
considered as a defendant.)

Name of Defendant: _\WyStor Sheers -}- Ken mbes [drvedy rage dA

Current Address: o/, 02, Mae Sh.
Arenseooe ME XT47
qT

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Cc. Additional Defendants (please provide the same information for each defendant as listed
in Item B above): Qo \gure\ qs Seeects

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IIL. STATEMENT OF CLAIM

(State here as briefly as possible the FACTS of your case. Do this by identifying the

alleged legal wrong and by describing how each defendant named in Section ILB. and C.

above is personally responsible for depriving you of your rights, Include relevant times,

dates, and places. Also, you must state the basis for federal jurisdiction. In other words,

why should the case be in federal court as opposed to state court, DO NOT GIVE LEGAL

ARGUMENTS OR CITE ANY CASES. Number and set forth each separate claim in a separate

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Il. STATEMENT OF CLAIM - continued.

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IV. RELIEF

State briefly and exactly what relief you want from this court.
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othe ing m A ofa +o {t- Cu bev Sige Or hor chil trol, al

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Signed this Q) S day of Merch , 20 ‘7.

(so

7) Signature of plaintiff

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Address

Greeslawe VC OTS

SS 32771 WeyY

Telephone number

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